Case 1:20-mc-00257-LPS Document 1-1 Filed 07/31/20 Page 1 of 3 PagelD #: 3

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Southern District of Mississippi

Northrop Grumman Ship Systems, Inc.

 

Plaintiff
Vv

: Civil Action No. 1:02cv785 HSO-RHW
Ministry of Defense of the Republic of Venezuela

 

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Defendant

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) __—~06/04/2020 i.

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

ARTHUR JOHNSTON
CLERK OF C

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Signature of Clerk or Deputy Clerk

Date: 07/29/2020

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

NORTHROP GRUMMAN SHIP PLAINTIFF
SYSTEMS, INC., formerly known as

Ingalls Shipbuilding, Inc.

Vv. Civil No. 1:02cv785-HSO-RHW

THE MINISTRY OF DEFENSE OF THE
REPUBLIC OF VENEZUELA DEFENDANT

THE MINISTRY OF DEFENSE OF THE
REPUBLIC OF VENEZUELA COUNTER-CLAIMANT

Vv.

NORTHROP GRUMMAN SHIP
SYSTEMS, INC. COUNTER-DEFENDANT

FINAL JUDGMENT

In accordance with the Memorandum Opinion and Order Granting Plaintiffs
Request for Entry of Final Judgment Pursuant to Federal Rule of Civil Procedure
58(d) entered herewith, the Court enters judgment pursuant to Federal Rule of Civil
Procedure 58. Accordingly,

IT IS, THEREFORE, ORDERED AND ADJUDGED that, judgment is
entered against Defendant The Ministry of Defense of the Republic of Venezuela in
the amount of $137,977,646.43, inclusive of pre-award interest, plus costs and fees.
This amount shall be subject to post-judgment interest pursuant to 28 U.S.C. § 1961,
accruing from the date of this Court’s March 31, 2020, Memorandum Opinion and

Order [406].
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IT IS, FURTHER, ORDERED AND ADJUDGED that, Plaintiff Northrop
Grumman Ship Systems, Inc., f/k/a Ingalls Shipbuilding, Inc.’s claims for a
maritime lien and for injunctive relief are DISMISSED WITHOUT PREJUDICE.

SO ORDERED AND ADJUDGED this the 4th day of June, 2020.

lal Suleyman Ozerden

HALIL SULEYMAN OZERDEN
UNITED STATES DISTRICT JUDGE

 
   
 

ARTHUR JOHNSTON, CLERK
UNITED STATES DISTRICT COURT

eee RICT OF MISSISSIPPI
By: Deputy Clerk
